            Case:
ILND 450 (Rev.         1:17-cv-00417
               04/29/2016) Judgment in a CivilDocument
                                              Action   #: 675 Filed: 09/30/22 Page 1 of 2 PageID #:21777

                           IN THE UNITED STATES DISTRICT COURT FOR THE
                                  NORTHERN DISTRICT OF ILLINOIS

 Eddie L. Bolden,

 Plaintiff(s),
                                                               Case No. 1:17-cv-417
 v.                                                            Judge Steven C. Seeger

 Angelo Pesavento, et al.,

 Defendant(s).

                                         JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                 in favor of plaintiff
                 and against defendants
                 in the amount of $     ,

                         which      includes       pre–judgment interest.
                                    does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


                 in favor of defendant(s)
                 and against plaintiff(s)


                           other: Judgment is entered in favor of Plaintiff Eddie L. Bolden and against Defendants
         Angelo Pesavento, James Oliver, the Estate of Edward Siwek, and the Estate of George Karl on Counts
         I, II, III, V, VI, VII, and VIII in the amount of $25,000,000 (twenty-five million dollars). In addition to
         compensatory damages, judgment in favor of Plaintiff Eddie L. Bolden and against Defendant Angelo
         Pesavento includes an additional $100,000 (one hundred thousand dollars) in punitive damages. In
         addition to compensatory damages, judgment in favor of Plaintiff Eddie L. Bolden and against
         Defendant James Oliver includes an additional $100,000 (one hundred thousand dollars) in punitive
         damages. Judgment is entered in favor of Plaintiff Eddie L. Bolden and against the City of Chicago on
         Count IX (respondeat superior) and Count X (indemnification). Count IV (Monell) is dismissed with
         prejudice. Judgment against the Estate of Edward Siwek, the Estate of George Karl, and the City of
         Chicago does not include punitive damages.

This action was (check one):

      tried by a jury with Judge Steven C. Seeger presiding, and the jury has rendered a verdict.
      tried by Judge         without a jury and the above decision was reached.
      decided by Judge
        Case: 1:17-cv-00417 Document #: 675 Filed: 09/30/22 Page 2 of 2 PageID #:21778



Date: 9/30/2022                            Thomas G. Bruton, Clerk of Court

                                            Jessica J. Ramos, Deputy Clerk
